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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA           :     Crim. No. 21-524 (JHR)

                          v.       :
                                         ORDER COMPELLING DISCOVERY
           JOHN GRIER III          :


     This matter having come before the Court on the application

of the United States of America (Jason M. Richardson and Lindsey

R. Harteis, Assistant U.S. Attorneys, appearing) for an order

compelling discovery,
     IT IS ON this         day of September, 2023,

     ORDERED that the defendant provide all materials, evidence,

and information reviewed and relied upon by Emanuel Kapelsohn as

the bases for his opinions, all items requested in the

Government’s letter dated April 3, 2023, a supplemental list of

cases in which Kapelsohn has testified in the past four years

predating this Order, and that Kapelsohn sign and certify his

responses, including certifying where no disclosures are

provided that none are available, pursuant to Fed. R. Crim. P.

16 no later than September ___, 2023.

     IT IS FURTHER ORDERED THAT the defendant provide the

Government with any and all expert disclosures required by Fed.

R. Crim. P. 16, whether specifically asked for in writing by the

Government or not, and that where the defendant requires

clarification whether an item is subject to disclosure, the

defendant submit that item to the Court for ex parte review.

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                                                   HON. JOSEPH H. RODRIGUEZ
